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                 Exhibit A
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From:           Rapp, Kevin (USAAZ)
To:             Nicholas Merritt; Dennis Wilenchik; lee@mscclaw.com
Subject:        RE: USA v. Weinstein , Dixon
Date:           Friday, May 9, 2025 2:32:00 PM
Attachments:    image001.png
                image002.png



Mr. Merritt,

Thanks for the email. As written, I must object to the motion to continue until January 2026. I
would be willing to agree to a continuance for 90 days and if an additional continuance is
required, we can discuss that at a later date. Second, although Mr. Stein has moved to withdraw,
he remains attorney of record and there has neither been a substitution filed nor has the court
granted the motion. Last, the motion states “ the prosecution has failed to disclose any evidence
whatsoever, significantly impairing Mr. Weinstein’s ability to file motions in this case.” I have not
received a written request for discovery as required by Rule 16 to trigger the defense’s reciprocal
discovery obligations. The motion suggests that you have requested discovery, and we have
neglected to provide it. It is not accurate. Thanks.

Best,


Kevin M. Rapp| Assistant U.S. Attorney
Financial Crimes and Public Corruption Section
U.S. Department of Justice | Office of the United States Attorney
40 N. Central Ave., Ste. 1800, Phoenix, AZ 85004
602.514.7609, kevin.rapp@usdoj.gov




From: Nicholas Merritt <NicholasM@wb-law.com>
Sent: Friday, May 9, 2025 2:05 PM
To: Dennis Wilenchik <diw@wb-law.com>; Rapp, Kevin (USAAZ) <Kevin.Rapp@usdoj.gov>;
lee@mscclaw.com
Subject: [EXTERNAL] Re: USA v. Weinstein , Dixon


Good Afternoon Mr. Rapp,

Are you in agreement with our motion to continue?

Best,

Nick
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                                                        Nicholas Merritt
                                                        NicholasM@wb-law.com

                                                        The Wilenchik & Bartness Building
                                                        2810 North Third Street
                                                        Phoenix, Arizona 85004
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From: Dennis Wilenchik <diw@wb-law.com>
Sent: Thursday, May 8, 2025 9:25 AM
To: Rapp, Kevin (USAAZ) <Kevin.Rapp@usdoj.gov>; lee@mscclaw.com <lee@mscclaw.com>
Subject: Re: USA v. Weinstein , Dixon


Yes thanks and best

Sent via the Samsung Galaxy Z Fold3 5G, an AT&T 5G smartphone
Get Outlook for Android


                  Sincerely Yours,




                                                        Dennis I. Wilenchik
                                                        Attorney at Law
                                                        diw@wb-law.com

                                                        The Wilenchik & Bartness Building
                                                        2810 North Third Street
                                                        Phoenix, Arizona 85004
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        Case 2:25-cr-00541-DJH                  Document 42-1              Filed 05/15/25           Page 4 of 4


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From: Rapp, Kevin (USAAZ) <Kevin.Rapp@usdoj.gov>
Sent: Thursday, May 8, 2025 9:23:55 AM
To: Dennis Wilenchik <diw@wb-law.com>; lee@mscclaw.com <lee@mscclaw.com>
Subject: USA v. Weinstein , Dixon


Gents:

Hope all is well. Both of you are currently attorneys of record on the above case. I have on my
calendar that motions are due on 5/14 with a trial date on 6/3. Is it your intent to file a MTC both of
these dates? Please let me know. Thanks.

Best,


Kevin M. Rapp| Assistant U.S. Attorney
Financial Crimes and Public Corruption Section
U.S. Department of Justice | Office of the United States Attorney
40 N. Central Ave., Ste. 1800, Phoenix, AZ 85004
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